                  Case 2:21-cv-01905-RFB-NJK Document 56 Filed 08/18/22 Page 1 of 1

AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


Russell G Greer,
                                                       JUDGMENT IN A CIVIL CASE
                                3ODLQWLII
        9                                             Case Number: 2:21-cv-01905-RFB-NJK


Fremantle Productions, et al.,
                                 'HIHQGDQWs


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
         -XGJPHQWLVHQWHUHGLQIDYRURI 'HIHQGDQWs Fremantle Productions and Marathon Productions, and
         against Plaintiff Russell G Greer.
         7KLVPDWWHULVQRZFORVHG




        8                                             DEBRA K. KEMPI
           Date                                              Clerk



                                                              /s/ K Ferris
                                                             Deputy Clerk
